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 1     EDMUND G. BROWN JR.                                 HANSON BRIDGETT LLP
       Attorney General of the State of California         JERROLD C. SCHAEFER - 39374
 2     DAVID S. CHANEY                                     PAUL B. MELLO – 179755
       Chief Assistant Attorney General                    S. ANNE JOHNSON – 197415
 3     ROCHELLE C. EAST                                    SAMANTHA D. TAMA – 240280
       Senior Assistant Attorney General                   RENJU P. JACOB - 242388
 4     JONATHAN L. WOLFF                                   425 Market Street, 26th Floor
       Senior Assistant Attorney General                   San Francisco, CA 94105
 5     LISA A. TILLMAN – State Bar No. 126424              Telephone: (415) 777-3200
       Deputy Attorney General                             Facsimile: (415) 541-9366
 6     KYLE A. LEWIS – State Bar No. 201041                jschaefer@hansonbridgett.com
       Deputy Attorney General                             pmello@hansonbridgett.com
 7     455 Golden Gate Avenue, Suite 11000                 ajohnson@hansonbridgett.com
       San Francisco, CA 94102-7004                        stama@hansonbridgett.com
 8     Telephone: (415) 703-5708                           rjacob@hansonbridgett.com
       Facsimile: (415) 703-5843
 9     lisa.tillman@doj.ca.gov
       kyle.lewis@doj.ca.gov
10
       Attorneys for Defendants
11

12                                UNITED STATES DISTRICT COURT

13                        FOR THE EASTERN DISTRICT OF CALIFORNIA

14                       AND THE NORTHERN DISTRICT OF CALIFORNIA

15            UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES

16                PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

17

18     RALPH COLEMAN, et al.,                         No. 2:90-cv-00520 LKK JFM P
19                      Plaintiffs,                   THREE-JUDGE COURT
             v.
20
       ARNOLD SCHWARZENEGGER, et al.,
21
                        Defendants.
22                                                    No. C01-1351 TEH
       MARCIANO PLATA, et al.,
23                                                    THREE-JUDGE COURT
                        Plaintiffs,
24           v.                                       DEFENDANTS’ MOTION IN LIMINE NO. 2
                                                      TO EXCLUDE (a) CCPOA WITNESSES
25     ARNOLD SCHWARZENEGGER, et al.,                 AND (b) CCPOA TESTIMONY ABOUT
                                                      HOUSING, VIOLENCE, DANGER,
26                      Defendants.                   SECURITY
27
                                                      To: Three-Judge Panel
28
                                                     -1-
       DEFS.’ MIL NO. 2 TO EXCLUDE (A) CCPOA WITNESSES AND (B) CCPOA TESTIMONY
                                                                                          1646721.1
       ABOUT HOUSING, VIOLENCE, DANGER, SECURITY (CASE NOS. 90-00520 AND 01-1351)
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 1                                NOTICE OF MOTION AND MOTION

 2            TO PLAINTIFFS MARCIANO PLATA, RALPH COLEMAN, INTERVENORS AND

 3     THEIR ATTORNEYS OF RECORD:

 4            PLEASE TAKE NOTICE that Defendants Arnold Schwarzenegger, et al., move

 5     this Court in limine for an order to exclude CCPOA witnesses and their testimony

 6     pertaining to housing, violence, danger and security. This motion is based on this

 7     notice, the points and authorities, the Court’s file in this case, the declarations and

 8     exhibits filed in support of Defendants’ motions in limine, and any oral argument

 9     presented to the Three-Judge Panel regarding this motion. It is primarily made on the
10     grounds that such evidence is inadmissible as these witnesses lack foundation and the
11     matters for which they seek to testify are not proper lay witness testimony.
12                        MEMORANDUM OF POINTS AND AUTHORITIES
13                                       I.     INTRODUCTION
14            A prisoner release order is an extreme remedy that should not issue unless it will

15     cure the constitutional violation in question and the violation cannot be fixed any other

16     way. Here, the alleged constitutional violations at issue are the delivery of medical and

17     mental health care in California’s prisons, not overcrowding, housing, or other

18     environmental conditions affecting the general population. Defendants are not

19     deliberately indifferent to the medical and mental health needs of Plata and Coleman
20     class-members, and overcrowding is not the "primary cause" of those alleged

21     constitutional violations. Therefore, a prisoner release order is not the proper remedy.

22            All of CCPOA’s witness should be excluded as the subject of their testimony is not

23     proper lay witness testimony. CCPOA listed six witnesses on their witness list and

24     described the topic of each witness. (CCPOA Witness List, 8/1/2008, Plata Docket No.

25     1352; Coleman Docket No. 2909.) CCPOA listed their witnesses and their proposed

26     testimony as shown below:

27            1. Deborah Rowlett, Correctional Officer, Solano State Prison (served as a

28     medical professional and a correctional officer in the prisons and will discuss her
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 1     observations in both roles at her workplace).

 2            2. Gary L. Benson, Correctional Officer, Folsom State Prison (will discuss

 3     observations regarding prisons and communicable diseases at his workplace).

 4            3. Eric Adelman, Correctional Officer, California Medical Facility (will discuss

 5     observations regarding delivery of care in an overcrowded environment versus a less

 6     crowded environment).

 7            4. Ruben Leija, Correctional Officer, Chuckawalla Valley State Prison (will

 8     discuss observations related to the spread of communicable diseases at his workplace).

 9            5. Brenda Gibbons, Correctional Officer, Salinas Valley State Prison (will discuss
10     observations regarding assisting in the delivery of medical care to inmates in an

11     overcrowded environment).

12            6. Kevin L. Raymond, Correctional Officer (will discuss observations regarding

13     staffing and logistics issues, as well as authentication of video footage).

14            As discussed fully below, these witnesses should be excluded from testifying and

15     in the alternative should be precluded from testifying about topics that are not proper

16     subjects for lay witness opinions and which are irrelevant to these proceedings.

17                                         II.    ARGUMENT
18     A.     CCPOA’s Witnesses Should be Precluded from Testifying Because their
              Intended Topics of Testimony Go Beyond what is Permissible Lay Witness
19            Testimony.
20            A non-expert witness can only opine on matters that are: (1) rationally based on

21     the perception of the witness; (2) helpful to a clear understanding of the witness’

22     testimony or the determination of a fact in issue; and (3) not based on scientific,

23     technical or other specialized knowledge within the scope of Rule 702. Fed. R. Evid.

24     701. Witnesses cannot opine on matters that are not rationally based on their

25     perception. Id.; United States v. Oaxaca, 569 F.2d 518, 526 (9th Cir. 1978) (examining

26     whether a witness who opined on whether he could identify a fleeing suspect was

27     rationally based on the perception of the witness). When testimony requires specialized

28     knowledge, it must meet the requirements of expert testimony under Rule 702 because
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 1     a holding to the contrary would encourage a party to “offer all kinds specialized opinions

 2     without pausing first properly to establish the required qualifications of their witnesses.”

 3     United States v. Figueroa-Lopez, 125 F.3d 1241, 1246 (9th Cir. 1997).

 4            CCPOA’s witnesses seek to testify and opine at trial on subjects that go beyond

 5     the scope for a lay witness. Deborah Rowlett plans to testify as to her opinion regarding

 6     the delivery of health care. Ms. Rowlett explained during her deposition that medical

 7     services provided to inmates, medical equipment, staff training and the number of staff

 8     are inadequate. (Decl. Paul Mello Supp. Defs.’ Mots. in Limine (Decl. Mello), Ex. W

 9     (Dep. Debra Rowlett) at 37:11-39:22.) Ms. Rowlett cannot testify as to these issues -
10     namely the adequacy of medical care in CDCR because the adequacy of medical care is

11     not a topic that is rationally based on her perception and such an opinion requires

12     specialized medical knowledge within the scope of Rule 702.

13            Gary Benson plans to testify at trial about his observations about prisons and

14     communicable diseases at his workplace. At his deposition, Mr. Benson explained that

15     he will testify about the spread and treatment of staph infections. (Decl. Mello, Ex. X

16     (Dep. Benson) at 23:22-26:5, 32:10-33:2.) Mr. Benson cannot opine on these issues

17     because it is not rationally based on his perception. He has no educational or

18     professional experience regarding the delivery of medical care. (Id. at 10:4-11:10.)

19     Moreover, his opinion regarding the delivery of medical care and specifically the spread
20     of disease is not proper lay witness opinion as it requires specialized medical knowledge

21     within the scope of Rule 702.

22            Likewise, Eric Adelman’s testimony is also not proper lay opinion testimony. As

23     stated in CCPOA’s non-expert witness list, Mr. Adelman will testify at trial regarding

24     delivery of care in an overcrowded environment versus a less crowded environment. His

25     testimony is not rationally based on his perception because he has no specific medical

26     background from which to base such an opinion. (Decl. Mello, Ex. Y (Dep. Adelman) at

27     9:6-10:4.) His testimony also requires specialized medical knowledge within the scope

28     of Rule 702.
                                                   -4-
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 1            Ruben Leija also cannot opine on the matters for which he is called to testify. He

 2     is called to testify at trial regarding the spread of communicable diseases at his

 3     workplace. Mr. Leija cannot testify as to the spread of communicable disease as it is not

 4     rationally based on his perception. Specifically, with respect to staph infections, his

 5     testimony is based on hearsay, namely that other inmates told him that they had staph

 6     infections. (Decl. Mello, Ex. Z (Dep. Leija) at 32:18-34:21.) He has no educational or

 7     professional background in the medical field. (Id. at 9:9-11:25.) Moreover, the spread of

 8     communicable disease is a topic which requires specialized medical knowledge under

 9     Rule 702.
10            Brenda Gibbons plans to testify at trial regarding assisting in the delivery of

11     medical care to inmates in an overcrowded environment. She cannot opine on the

12     delivery of medical care and mental health care because it is not rationally based on her

13     perception. While she intends to testify regarding the overcrowded environment in

14     prisons, she explained during her deposition that she does not know if facilities are

15     indeed overcrowded. (Decl. Mello, Ex. AA (Dep. Gibbons) at 31:21-33:2.) She has no

16     educational or professional background in medical or mental health care. (Id. at 13:3-

17     14:17.) Further, the delivery of medical and mental health care is a topic which requires

18     specialized medical knowledge and is within the scope of Rule 702.

19            Kevin Raymond is being called to testify at trial regarding staffing and logistics
20     issues, as well as authentication of video footage. Mr. Raymond works as liason

21     between CCPOA and the Office of Facilities Management, where he reviews staffing

22     packages and new proposals on new construction. (Decl. Mello, Ex. BB (Dep.

23     Raymond) at 17:23-19:5.) His testimony should be excluded as he has no knowledge of

24     any videotape that he is being asked to authenticate. (Id. at 12:1-17:22.) Further, to the

25     extent such videotapes are of prison institutions he does not have sufficient personal

26     knowledge to authenticate them as he has been working at CDCR headquarters and

27     does not have any direct observations of prisons or the inmates held within. (Id. at

28     15:16-16:4.) His opinions on staffing also require specialized knowledge pursuant to
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 1     Rule 702.

 2            In sum, the subject matter of the testimony of CCPOA’s non-expert witnesses

 3     calls for lay opinion testimony that is either not rationally based on the perception of the

 4     witness or requires specialized expert knowledge. For these reasons, the Court should

 5     exclude all of the CCPOA witnesses from testifying at trial as demonstrated above.

 6     B.     Evidence Regarding Uncomfortable, Inadequate, or Inappropriate Housing
              or Other Environmental Conditions, Safety Risks, or Rehabilitative
 7            Programming is Irrelevant and Should be Excluded.
 8            Only relevant evidence is admissible. Fed. R. Evid. 402. Further, relevant

 9     evidence may be excluded when “its probative value is substantially outweighed by the
10     danger of unfair prejudice, confusion of the issues . . . or by considerations of undue

11     delay, waste of time, or needless presentation of cumulative evidence.” Fed. R. Evid.

12     403.

13            The proposed testimony of CCPOA’s witnesses do not have any bearing to the

14     ultimate issues in this case and will detract this Courts’ attention as the proffered

15     evidence is irrelevant. Moreover, to the extent that any probative value exists with their

16     testimony, it is outweighed “by considerations of undue delay, waste of time, and

17     needless presentation of cumulative evidence.” Id.

18            The fundamental questions in this proceeding are whether overcrowding is the

19     primary cause of the allegedly inadequate delivery of medical care and mental health
20     care in California’s prisons and whether any measures other than a prisoner release

21     order can solve those alleged inadequacies. See 18 U.S.C. § 3626. Whether

22     overcrowding has resulted in uncomfortable, inadequate, or inappropriate housing or

23     other environmental conditions, safety risks, or rehabilitative programming is not relevant

24     to whether a prisoner release order should issue to resolve the alleged violations with

25     respect to medical and mental health care.

26            CCPOA witnesses will offer evidence that is not relevant or probative to these

27     proceedings. For instance, Ms. Rowlett explains that housing conditions are unsafe and

28     unsanitary. (Decl. Mello, Ex. W at 37:11-39:22.) Mr. Benson testified as to issues
                                                 -6-
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 1     regarding safety. (Id. at Ex. X at 45:13-46:14.) Mr. Leija testified as to the difficulty in

 2     keeping housing units clean, the difficulty in maintaining security, and the increased risk

 3     of violence in housing units. (Id. at Ex. Z at 55:14-60:8.) Ms. Gibbons testified to

 4     housing conditions such as canteen, receiving packages, and the laundry service. (Id. at

 5     Ex. AA at 49:22-53:16.) All of CCPOA’s’ evidence on those points should be excluded

 6     as they are not relevant or probative.

 7                                         III.   CONCLUSION
 8            For the reasons stated fully above, the Court should exclude any and all

 9     evidence, reference to evidence, testimony, or argument regarding any of the topics for
10     which CCPOA witnesses plan to testify at trial. Specifically, all of the CCPOA witnesses

11     seek to opine on topics which are not proper lay witness testimony. In addition, they

12     seek to testify regarding topics that are not relevant or probative to these proceedings.

13     Defendants request that the Court grant this motion in limine in its entirety.

14     DATED: October 20, 2008                        HANSON BRIDGETT LLP
15

16                                                By: /s/ Paul B. Mello
                                                     PAUL B. MELLO
17                                                   Attorneys for Defendants
                                                     Arnold Schwarzenegger, et al.
18
       DATED: October 20, 2008                        EDMUND G. BROWN JR.
19                                                    Attorney General of the State of California
20

21                                                By: /s/ Kyle Lewis
                                                     KYLE LEWIS
22                                                   Deputy Attorney General
                                                     Attorneys for Defendants
23                                                   Arnold Schwarzenegger, et al.
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